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                    UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK


 BRADLEY C. REIFLER,
                                     Appellant,         No. 7:18-cv-02559-CS
                          -v-
                                                        On appeal from the United
 NORTH CAROLINA MUTUAL LIFE                             States Bankruptcy Court
 INSURANCE COMPANY,                                     for the Southern District of
                                                        New York
                                     Appellee.


              APPELLEE’S RULE 8020 MOTION FOR
        REASONABLE ATTORNEYS’ FEES AND DOUBLE COSTS

      Appellee North Carolina Mutual Life Insurance Company (“NCM”) has

moved to dismiss the appeal (the “Dismissal Motion”) of Appellant Bradley C.

Reifler (“Reifler”). The Dismissal Motion establishes that this appeal should be

dismissed because this Court lacks jurisdiction over the appeal, because Reifler did

not seek or obtain leave to appeal the bankruptcy court’s interlocutory civil contempt

order. The Dismissal Motion also establishes that this appeal should be dismissed

under Rule 8003(a)(2), because Reifler failed to take basic steps to prosecute the

appeal such as paying the filing fee or timely filing the mandatory designation and

statement. NCM now moves for its reasonable attorneys’ fees and double its costs

incurred in defending this frivolous appeal under Federal Rule of Bankruptcy

Procedure 8020.

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                                    ARGUMENT

      Federal Rule of Bankruptcy Procedure 8020 provides that the district court

may “award just damages and single or double costs to the appellee” if it “determines

that an appeal is frivolous.” An appeal is frivolous under Rule 8020 where it was

“totally lacking in merit, framed with no relevant supporting law, conclusory in

nature, and utterly unsupported by the evidence.” In re Negosh, 06-CV-5617(JS),

2007 U.S. Dist. LEXIS 61842, at *6 (E.D.N.Y. 2007); see also In re Davis, 03 Civ.

7926 (LAK), 2004 U.S. Dist. LEXIS 10837, at *3 (S.D.N.Y. June 15, 2004)

(awarding sanctions under Rule 8020 where the appeal was “at least substantially

frivolous”). Courts have also found appeals to be frivolous where the appeal suffers

from threshold deficiencies, like standing or jurisdiction, or where the appellant

failed to prosecute the appeal. See, e.g., Kristan v. Turner (In re Kristan), BAP NO.

EP 08-041, 2008 Bankr. LEXIS 3964, at *12 (B.A.P. 1st Cir. Dec. 15, 2008)

(awarding sanctions where the appellant lacked standing to appeal the bankruptcy

court’s order); In re Action Dev., No. C 07-1539 SBA, 2007 U.S. Dist. LEXIS

86837, at *6 (N.D. Cal. Nov. 14, 2007) (awarding sanctions where appellants did

not timely file their designation of record or statement of issues and did not respond

to appellees’ motion to dismiss).

      Here, sanctions should be awarded against Reifler for filing this frivolous

appeal. As NCM’s Motion to Dismiss shows, this Court lacks jurisdiction over this

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appeal because Reifler improperly seeks to appeal an interlocutory, civil contempt

order. Reifler did not even attempt to obtain leave from the Bankruptcy Court or

this Court to pursue an interlocutory appeal. He did not include a motion for leave

with his notice of appeal as required under Rule 8004, and he failed to provide any

basis for granting leave in his notice of appeal.

      Reifler also failed to take the basic steps necessary to prosecute the appeal

once in this Court. Reifler did not include the order being appealed from with his

notice of appeal, as required by Rule 8003(a)(3)(B). Reifler did not timely pay the

prescribed filing fee or seek a waiver, as required by Rule 8003(a)(3)(C). And

Reifler did not timely file his mandatory designation and statement as required under

Rule 8009(a)(1). Nor has Reifler sought an extension of any of these deadlines,

sought leave to make an untimely filing, or taken any other steps since filing the

notice to prosecute this appeal. Reifler has thus forced NCM and this Court to

expend time and resources on a frivolous appeal that Reifler himself apparently

cannot be bothered to pursue. Sanctions are therefore appropriate under Rule 8020.

See In re Action Dev., 2007 U.S. Dist. LEXIS 86837 at *6 (sanctions appropriate

where appellants “have wasted both appellees’ and this Courts’ time”).




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                              CONCLUSION

     For the foregoing reasons, NCM respectfully requests that this Court award

NCM its attorneys’ fees and double its costs under Federal Rule of Bankruptcy

Procedure 8020.



Dated: New York, New York
       March 29, 2018

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                           CERTIFICATE OF SERVICE

      I hereby certify that on this 29th day of March, 2018, the foregoing document

was electronically transmitted to the Clerk’s Office using the CM/ECF System for

filing and transmittal to registered participants of the CM/ECF system.

      I further certify that on this 29th day of March, 2018, I served the attached

document along with copies of unpublished cases cited therein by mail on the

following, who are not registered participants of the CM/ECF system:

      Bradley C. Reifler

      123 Fraleigh Hill Road

      Millbrook, NY 12545



/s/ Betty Rios




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